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1    Daven Patton
     3517 St. Thomas Blvd Apt B
2
     Indianapolis, IN 46214                                                            FILED
3    317-500-7534
                                                                                9:13 am, Jun 08, 2020
     Daven0726@gmail.com
4                                                                                U.S. DISTRICT COURT
                                  UNITED STATES DISCTRICT COURT               SOUTHERN DISTRICT OF INDIANA
5                                                                                Roger A.G. Sharpe, Clerk

6                                  SOUTHERN DISTRICT OF INDIANA

7    PLAINTIFF'S NAME,                              Case No.:   1:20-cv-1583-JRS-DLP

8                    Plaintiff, Daven A. Patton
9
     vs.                                            Jury Trail Demanded
10
     DEFENDANT'S NAME,
11
                    Defendants Indiana University
12   Board of Trustees, Defendant Indiana
13   University Police Department, Defendant
     Monroe County Prosecutors Office, Defendant
14   Lori Reesor, Defendant Rebecca A. Schuml, ,
15
     Defendant Bobby Thompson, Defendant Jeff
     Kehr
16

17

18

19

20
     1. Plaintiff DAVEN PATTON (hereinafter “Plaintiff”), makes the following allegations against
21
           Defendants INDIANA UNIVERSITY BOARD OF TRUSTEES, INDIANA UNIVERSITY
22

23
           POLICE DEPARTMENT, MONROE COUNTY PROSECUTOR’S OFFICE and

24         Defendants LORI REESOR, REBECCA A. SCHUML, BOBBY THOMPSON, JEFF KEHR
25         (hereinafter “Defendants”)
26

27

28
     DAVEN PATTON VS INDIANA UNIVERSITY BOARD OF TRUSTEES ET AL
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1

2
                                     JURISDICTION AND VENUE
3
     2. This court has subject matter jurisdiction over this matter pursuant to 28. U.S.C. 1331, which
4
        provides district courts with jurisdiction over civil actions arising under the United States
5

6       Constitution or laws of the United States.

7    3. This court has jurisdiction over all Defendants because all defendants at the time of the
8
        alleged act acted under color of state law as representatives and employees of the political
9
        subdivision of INDIANA UNIVERSITY, INDIANA UNIVERSITY POLICE
10
        DEPARTMENT, MONROE COUNTY PROSECUTORS OFFICE and deprived the Plaintiff
11

12      of federal rights under the United States constitution rights and right granted by congress

13      under federal statutes.
14
                                                  Parties:
15
     4. Plaintiff, DAVEN PATTON (“Plaintiff”) is a former informatics student at INDIANA
16
        UNIVERSITY
17

18   5. Defendants INDIANA UNIVERSITY BOARD OF TRUSTEES (hereinafter INDIANA

19      UNIVERSITY or THE UNIVERSITY) is the representative body of the political subdivision
20
        INDIANA UNIVERSITY.
21
     6. Defendant LORI RESSOR in her individual capacity as Vice Provost and at the time of the
22
        alleged acts is an employee of Defendants of INDIANA UNIVERSITY BOARD OF
23

24      TRUSTEES.

25   7. Defendant INDIANA UNIVERSITY POLICE DEPARMENT is the police department of the
26
        political subdivision INDIANA UNIVERSITY
27

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1    8. Defendant REBECCA A. SCHMUL in the Defendant’s individual and official capacities as
2
        an Officer and at the time of the alleged acts is and employee of Defendant INDIANA
3
        UNIVERSITY POLICE DEPARTMENT.
4
     9. Defendant BOBBY THOMSPON in the Defendant’s individual and official capacities as an
5

6       Officer and at the time of the alleged acts is an employee of Defendant INDIANA

7       UNIVERSITY POLICE DEPARTMENT.
8
     10. Defendant MONROE COUNTY PROSECUTOR’S OFFICE.
9
     11. Defendant JEFF KEHR in the Defendant’s individual and official capacities as a Deputy
10
        Prosecutor and actions outside the role of prosecutor at the time of the alleged acts is an
11

12      employee of Defendant MONROE COUNTY PROSECUTOR’S OFFICE.

13   12. Plaintiff is informed and believes and therein alleges that in all times herein mentioned that
14
        the defendants acted under “color of law” at the time of the alleged acts and are
15
        representatives and employees of the political subdivisions INDIANA UNIVERSITY,
16
        INDIANA UNIVERSITY POLICE DEPARTMENT, and MONROE COUNTY
17

18      PROSECUTOR’S OFFICE.

19                                             Facts and Allegations
20
     13. INDIANA UNIVERSITY has been retaliating against the Plaintiff for his allegations of
21
        police misconduct(perjury) and discrimination since 2016.
22
     14. On March 3rd 2016 the Plaintiff was falsely arrested and prosecuted by the IUPD for
23

24      “terroristic mischief”.

25   15. The IUPD defamed the Plaintiff by releasing details of the false arrest to the press leading to
26
        news stories about the incident.
27

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1    16. On March 6th 2016 the Plaintiff made allegations to the University that the IUPD violated his
2
        4th amendment right to unreasonable search and seizure and that the decision to arrest and
3
        prosecute the plaintiff was based on race. IUPD retaliated under the guise that the Plaintiff
4
        “Threatened the safety of IUPD officers and residence inside the Plaintiff’s building.” by
5

6       having him detained.

7    17. As a result, on March 8th 2016 the Plaintiff was summarily suspended for his allegations
8
        against the IUPD and University under student of conduct code H7 “Actions that endanger
9
        one’s self, others in the university community or in the academic process.” and kicked off
10
        campus.
11

12   18. Indiana University’s summary suspension policy states “A student may be summarily

13      suspended from the university and summarily excluded from university property and
14
        programs by the Provost or designee of a university campus. The Provost or designee may
15
        act summarily without following the hearing procedures established by this section if the
16
        officer is satisfied that the student’s continued presence on the campus constitutes a serious
17

18      threat of harm to the student or to any other person on the campus or to the property of the

19      university or property of other persons on the university campus.”.
20
     19. The Plaintiff’s summary suspension was upheld after an appeal on April 15th, 2016 before the
21
        University Hearing Commission in what amounts to a kangaroo court.
22
     20. The terms for the Plaintiff’s readmission to the University was to wait until March 6th 2017
23

24      to apply for readmission with a reinstatement letter.

25   21. On October 26 2017 the Plaintiff forwarded an email criticizing the IUPD’s actions from the
26
        “terroristic mischief” incident and alleged that the IUPD’s actions that night violated the
27

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1       Clery Act a federal statute enforced by the U.S Department of Education titled “WMDs and
2
        concerts. No safety alerts” to Defendant Reesor. [exhibit 1].
3
     22. On October 28 2017 the Plaintiff sent an email titled “Terroristic mischief is a thoughtcrime.
4
        Your police department is Orwellian” which shared a similar incident that happened at
5

6       Purdue university in which the student was not charged with “terroristic mischief” to the

7       Vice Provost Defendant Reesor[exhibit 2].
8
     23. On the same day the Plaintiff sent an email outlining his formal Clery Act allegations in an
9
        email titled “Legal Justification for Clery Complaint” to Vice Provost Defendant Reesor,
10
        Superintendent of Public Safety and Director for Public Safety Compliance[exhibit 3].
11

12   24. In exhibit 5 the Plaintiff alleges two Clery Act violations the first is for the IUPD not sending

13      out a campus safety alert for the suspicious package which lead to the Plaintiff’s false arrest
14
        and the other for not sending out a campus safety alert and not following security procedures
15
        for what the IUPD alleged was a “Weapon of Mass Destruction” on a search warrant hours
16
        after the suspicious package was found to be safe hours later in the Plaintiff’s University
17

18      Apartment.

19   25. On February 20th 2018 all charges against the plaintiff were dismissed without prejudice.
20
     26. On March 3rd 2018 the University was notified that the U.S Department of Education was
21
        opening up an investigation into the Plaintiff’s allegations of Clery Act Violation and of the
22
        Plaintiffs Whistleblower status in an email titled “Education Department to investigate IU for
23

24      Clery Act violations (as promised)” which was sent to the Vice Provost Defendant Reesor

25      [exhibit 4].
26

27

28
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1    27. On March 4th 2018 Vice Provost Defendant Reesor was sent an email titled “Indiana
2
        University: Abnormalities with original suspension letter Fwd: From IU’s Student
3
        Advocates” by the Plaintiff [exhibit 5].
4
     28. On March 16th 2018 the Plaintiff applied for readmission with the required Petition of
5

6       reinstatement [exhibit 6] and a supporting document from his therapist detailing how therapy

7       helped the plaintiff recover from the trauma and anxiety caused by his 2016 false arrest.
8
        [exhibit 7].
9
     29. The supporting documents that accompany the Plaintiff petition were not required in the
10
        Plaintiff’s suspension letter.
11

12   30. In the Plaintiffs petition for reinstatement the Plaintiff talks about he has recovered from his

13      2016 false arrest and talks about his allegations of police misconduct (perjury) and alleges
14
        that his summary suspension was out of retaliation. The Plaintiff also talks about what he
15
        learned from his experience with systemic racism and how he his false arrest affected him.
16
        The Plaintiff also talks about therapy helped him recover mentally from the trauma caused
17

18      his false arrest.

19   31. On March 24th 2018 the Plaintiff sent an email to the Vice Provost Defendant Reesor titled
20
        “Activist, Student Group, Department of Education on my side” [exhibit 8].
21
     32. Two days later on March 26th 2018 the Vice Provost, Defendant Reesor, denied the plaintiffs
22
        petition for reinstatement until May of 2019 and added return conditions in the form of a
23

24      psycho-social assessment from a licensed mental health professional [exhibit 9] as a return

25      condition despite the University receiving a letter from the Plaintiff’s therapist and a medical
26
        release. The claims related to the denial of the Plaintiff’s petition are being litigated under
27
        cause number:
28
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1

2
     33. In response to the denial of the Plaintiff's petition the Plaintiff criticizes Defendant Reesor
3
        and states he forwarded the denial of his petition to the U.S Education Department Office of
4
        Civil Rights and the Federal Student Aid Enforcement Group( The office overseeing the
5

6       Clery Act).[exhibit 10]

7    34. The Plaintiff then sends an email titled "Racial Terror by the Rules: On Anti-Black Violence
8
        as a Kind of Governmentalty". This email is a copy of a socioeconomic analysis by the
9
        Hampton Institute talking about how systemic racism takes a mental toll on African
10
        Americans.[exhibit 11]
11

12   35. The last email the Plaintiff send to Defendant Reesor on 3/26/18 was an emailed titled “Its

13      okay to be Black” which contains a quote by Colin Kaepernick and an attachment of
14
        Kaepernick kneeling for the anthem.[exhibit 12]
15
     36. On 3/27/18 The Plaintiff BBCs Defendant Reesor to The Plaintiff’ Office of Civil Rights
16
        complaint against the Defendant. [exhibit 13]
17

18   37. On 3/28/18 in an email chain titled “The dept of ed moves quick” Defendant Reesor

19      acknowledges the Plaintiff’s on Office of Civil rights complaint and tell the Plaintiff future
20
        correspondence should be direct to the University’s general counsel [exhibit 14].
21
     38. On 3/29/18 The Plaintiff starts an email chain with Defendant Reesor’s attorney with the
22
        Defendant BCC’d an email titled “Early resolution to OCR complaint” in which he offers to
23

24      withdraw his complaint in exchange for his transcripts [exhibit 15].

25   39. On 3/31/2018 the Plaintiff sends an email titled “whistleblower retaliation (clery)” to the
26
        University’s general counsel and Defendant Reesor. [exhibit 16]
27

28
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1    40. On 4/10/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
2
        titled “Failure to reach resolution in timely manner risks OCR investigation.” [exhibit 17]
3
     41. On 4/14/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
4
        titled “You have until 4/21/18 to agree to informal agreement or I will rescind offer”. In
5

6       which he gives the school a deadline or he will proceed with his complaint. [exhibit 18]

7    42. On 4/21/2018 The Plaintiff sends the University’s general counsel with Defendant Reesor
8
        Bcc’d titled “ I have decided to proceed with OCR”. [exhibit 19]
9
     43. On 4/25/2018 The Plaintiff sends the University’s general counsel with Defendant Reesor
10
        Bcc’d titled “OCR to open an investigation shortly”. In which the Plaintiff alleges the denial
11

12      of petition was unconstitutional and asserts that opposing police misconduct is a protected

13      right. [exhibit 20]
14
     44. On 4/26/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
15
        titled “A resource to provide clarity as OCR moves forward” [exhibit 21]
16
     45. On 4/26/2018 The Plaintiff sends the University’s general counsel with Defendant Reesor
17

18      Bcc’d titled “Police misconduct(Perjury) is where civil rights meets Clery” in which he

19      alleges that retaliation against his allegations of perjury is an a violation of the clery act
20
        because he is using the Clery act to prove that the IUPD lied about a weapon of mass
21
        destruction to obtain a search warrant for the Plaintiff’s campus apartment. [exhibit 22]
22
     46. On 5/1/2018 the Plaintiff sends Defendant Reesor an email titled “No gaslighting your way
23

24      out of this one” which contains a article that details how the media, police departments, and

25      their supporters are engaged in cultural gaslight which dehumanizes the victims of police
26
        misconduct. [exhibit 23]
27

28
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1    47. On 5/3/2018 the Plaintiff sends Defendant Reesor an email titled (Police misconduct) Fwd: It
2
        sucks to get caught in a lie. Andy’s IUPD told a lie that was easy to catch”. This email
3
        repeats his earlier allegations in a previous that the IUPD committed perjury by using false
4
        statements to obtain an search warrant. This email was Appalachian State where the Former
5

6       Police of Chief Andy Stephenson works. The email is a copy of allegations sent in earlier

7       emails to Defendant Reeser. [exhibit 24]
8
     48. On 5/4/2018 the Plaintiff sends Defendant Reesor an email titled “Blackness as a legal
9
        strategy” Which is a copy of an article talking about how racism has created a “disabling”
10
        effect on African Americans and how disability law can be used to redress grievances.
11

12      [exhibit 25]

13   49. On 5/4/2018 the Plaintiff sends Defendant Reesor an emailed titled “It’s hard to gaslight
14
        when you have evidence and a letter from a therapist” in which the plaintiff alleges that the
15
        denial of the plaintiff’s petition and using his mental health as an excuse because of his
16
        allegations of perjury is like gaslighting. [exhibit 26]
17

18   50. On 5/7/2018 the Plaintiff sends Defendant Reesor an emailed titled “White supremacy is a

19      direct threat” in which he alleges the denial of his petition is a violation of Section 504 of the
20
        Rehabilitation Act and that Defendant Reesor’s fears about the Plaintiff are based on her own
21
        racism and prejudiced and not reality. [exhibit 27]
22
     51. On 5/10/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
23

24      titled “I know how this will all end” which talks about a resolution agreement made with

25      Acadia University for violations of Section 504 of the Rehabilitation Act. [exhibit 28]
26
     52. On 5/10/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
27
        titled “The Madman Theory (PTSD)” which talks about the madman theory of politics as
28
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1        described in Machiavelli’s the prince and mocks the IUPD for the 3/3/2016 incident. [exhibit
2
         29]
3
      53. 5/11/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
4
         titled “you cannot keep me suspended indefinitely because the cops lied” in this email the
5

6        Plaintiff mocks the University and IUPD for their racially and politically motivated crimes

7        against the Plaintiff. [exhibit 30]
8
      54. 5/11/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
9
         titled “you cannot be afraid of justice.”. In this emails the Plaintiff says that the school should
10
         make amends and that ‘because the cops hoaxed me and called me a terrorist you have
11

12       change my life and created the ultimate hoax. Luckily my powers are used for good.”

13       [exhibit 31]
14
      55. On 5/19/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
15
         titled “Reparations for the mental anguish you caused me” in which he states Defendant
16
         Reesor needs racial bias training and is just a racist from North Dakota. [exhibit 32]
17

18    56. On 5/19/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d

19       titled “Can you hoax your way to a revolution?”. This email contains articles on left wing
20
         extremism and insurgency. In this email the Plaintiff states that “We are fighting a non-linear
21
         war. The federal government is apart of the hoax. The cops hoaxed the federal government
22
         by violating the Clery act” [exhibit 33]
23

24    57. On 5/19/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d

25       titled “The Leftist deep state is real (The new red scare)” in this email the plaintiff states
26
         “The war on terror is a hoax. Laughter is the best way to heal from the trauma and trolling is
27
         therapeutic to me” [exhibit 34]
28
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1     58. On 5/21/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
2
         titled “Revolutionary Terror(hoax)” this email is a troll email in this email the plaintiff states
3
         “Amerikkka will be trolled out of existence. It hoaxed itself with the ‘war on terrorism’”
4
         [exhibit 35]
5

6     59. On 5/22/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d

7        titled ” (Spoiler alert) The terrorist win(hoax)”. This email is a troll email with articles on left
8
         wing extremism. In the email the Plaintiff “1. Get hoaxed by the cops 2. Hoax antifa 3. ??? 4.
9
         Profit (4d “terrorism”)” [exhibit 36]
10
      60. On 5/25/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
11

12       titled “I’m ready for this bullshit to be over with”. In this email the Plaintiff trolls and goes

13       on a rant the Plaintiff states “Ranting, Trolling and the super hoax(the hoax might be a threat
14
         to national security at this point) are very good ways are relieving the trauma Lori caused me
15
         and the trauma Lori (Is the type of racist that will take pictures with black people to say they
16
         aren’t racist) is trying to cause me. I will stop sending the emails once my complaint is
17

18       resolved. Those are begin manifestations of my “disability”. I told the OCR I want the cost of

19       attendance waived or compensation because the school is trying to cause me harm. Most
20
         students want their students to succeed but Lori wants to see me fail.” [exhibit 37]
21
      61. As a result of the Plaintiff engaging in protected speech and activities the Indiana University
22
         Police Department opened an unmerited criminal investigation into the Plaintiff’s emails.
23

24    62. The Plaintiff was investigated through selective law enforcement in violation of the equal

25       protection clauses of the 14th and 5th amendment specifically the Plaintiff alleges that but for
26
         his race, Indiana University Officials and law enforcement would have not investigated his
27

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1        emails, which contain political hyperbole and declarations about the status of his mental
2
         health as alleged “Threats”.
3
      63. The Plaintiff was investigated through selective law enforcement in violation of the 1st
4
         amendment the Plaintiff alleges that but for his protected speech and activities , Indiana
5

6        University Officials and law enforcement would have not investigated his emails, which

7        contain political hyperbole and declarations about the status of his mental health as alleged
8
         “Threats”.
9
      64. On 5/26/2018 The Plaintiff sends the University’s general counsel with the Defendant Bcc’d
10
         titled “Welcome to the 21st century. You are outdated”. This is a troll email in the email the
11

12       Plaintiff states “We can just beat y’all on the internet. It’s all one big hoax” [exhibit 38]

13    65. On 6/1/2018 the Plaintiff sends Defendant Reesor an email titled “I thought about killing
14
         you”. In the email the Plaintiff states that the title of the email is a Kanye West song and the
15
         email contains a YouTube link to the song. In this email the plaintiff trolls and mocks the
16
         IUPD for fabricating threats “Since they like making up terrorist threats they think it’s real”
17

18       and the Plaintiff further states that “both sides will fall for the hoax”. As a result of this email

19       Defendant Reesor claims she felt “concerned for the safety herself and her family” despite it
20
         being beyond debate that Reesor was not “threatened” by the Plaintiff and that the Defendant
21
         knows that the title of the email is a song by a widely known and mainstream rap artist.
22
         [exhibit 39]
23

24    66. On 6/1/2018 the Plaintiff sends Defendant Reesor’s attorney titled “The FBI might get

25       involved.” This is a troll email from the Plaintiff in the email the Plaintiff states “The cops
26
         lied violated federal statues and they are the ones who started the super hoax.” The email
27

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1        contains articles about anti police violence riots and the Plaintiff reiterates his accusations
2
         against the IUPD of deprivation of rights. [exhibit 40]
3
      67. On 6/1/2018 the Plaintiff sends Defendant Reesor’s attorney titled “The bloodbath is
4
         coming”. In this email the Plaintiff rants about being falsely accused of terroristic mischief
5

6        in the email he states “Freedom of Speech” Is okay unless you are talking about state

7        violence. Don’t worry. I am Like Fidel. It’s all one big hoax” [exhibit 41]
8
      68. On 6/2/2018 Defendant Rebecca A. Schmul called the Plaintiff’s grandparents and lied that
9
         the Plaintiff was sending emails that are “threating in nature” despite it being beyond debate
10
         that Defendant Reesor was not “threatened” by the Plaintiff.
11

12    69. The Plaintiff made his intentions clear as a inflammatory radical left wing troll mocking the

13       University’s and IUPD’s politically motived crimes against the Plaintiff and the language of
14
         the emails is political hyperbole and satire [Elonis V. United States]. To state otherwise
15
         would be false and contradictory to all available evidence.
16
      70. As a result of the call to the Plaintiff’s grandparents the Plaintiff felt like the IUPD was
17

18       trying to bully and harass his family.

19    71. The Plaintiff reiterates his intentions in an email titled “The emails are not threats” in the
20
         email the Plaintiff states “I am just trolling and frustrated. I am working with the OCR and
21
         will resume therapy. I am just frustrated with the process and expressing myself” which was
22
         sent to Defendant Reesor’s attorney and then forwarded to Defendant Reesor [exhibit 42].
23

24    72. The Plaintiff follows up by sending another email to the Plaintiff’s attorney titled “Mental

25       illness is an issue that needs more attention.” The Plaintiff talks about Kanye West’s album
26
         that was recently released and that the song “I thought about killing you is on”. The album
27
         talks about Kanye West’s struggle with his own mental health. The email contains a review
28
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1        of the album and the song “I thought about killing you”. The author of the article writes that
2
         in the song “Kanye goes to extremely dark places right off the bat. From beginning to end of
3
         the first track off the album, the entertainer raps about thoughts of suicide and murder, which
4
         he first publicly spoke about in 2010.” [exhibit 43]
5

6     73. The Plaintiff sends one last email to the Defendant’s Reesor’s attorney and then forwarded to

7        Defendant Reesor titled “This is the last one email. I play an online persona.” In this email he
8
         further reiterates his earlier emails. “I am role playing and expressing the views of the most
9
         marginalized people in society. Kinda like Stephen Colbert. That’s what I mean by trolling.”
10
         [exhibit 44]
11

12    74. It is upon information and belief that the defendants entered into an unlawful conspiracy to

13       have the Plaintiff arrested and engineer a malicious prosecution out of retaliation for his
14
         protected speech and activities.
15
      75. It is upon information and belief that University Officials used false statements about the
16
         emails in order to interfere with a pending U.S Department of Education Office of Civil
17

18       Rights investigation and pending U.S Department of Education Clery Act investigation.

19    76. On 6/5/2018 Defendant Schmuhl signed a faulty probable cause affidavit under oath in which
20
         the Defendant makes false and misleading statements about emails as “threating” and takes
21
         phrases from the emails while ignoring the context and uses them in an misleading fashion in
22
         order to mislead a magistrate.
23

24    77. Defendant Schmuhl’s affidavit amounts to nothing more than a false police report and does

25       not allege specific facts and circumstances from which a jury could reasonably conclude a
26
         crime was committed.
27

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1     78. Defendant Schmuhl omitted the vast majority of the Plaintiff’s emails to from the faulty
2
         probable cause affidavit.
3
      79. Despite it being indisputable and beyond debate that Defendant Reesor was not “threated” by
4
         the plaintiff and evidence of Defendant Reesor’s discriminatory and unconstitutional motives
5

6        on 6/7/2018 under oath Defendants Bobby Thompson and Defendants Kehr signed a

7        charging document for felony intimidation alleging that the Plaintiff “Threatened to kill”
8
         Defender Reesor for denying his petition for reinstatement.
9
      80. It is beyond debate that the allegations are knowingly false by all Defendants.
10
      81. The charging information, together with the probable cause affidavit contain contradictory
11

12       information and insufficient facts.

13    82. The statutes cited in the charging information are overbroad criminalizing both protected and
14
         unprotected speech.
15
      83. Exhibits 1-44 are protected speech under the 1st Amendment and Federal Statutes and
16
         intimidation is a speech crime. Indiana’s intimidation statute as applied to exhibits 3-40 is
17

18       unconstitutional and was used to punish the Plaintiff criminally for constitutional and

19       federally protected speech.
20
      84. The information alleges one count of intimidation “On or about October 26,2017 in Monroe
21
         County, State of Indiana, Daven Alexander Patton did communication a threat to commit a
22
         forcible felony, to-wit: kill her, to Loraine M. Reesor, with the intent that Loraine M. Reesor
23

24       be placed in fear of retaliation for a prior lawful act, to-wit: refusing to re-admit the Patton

25       into Indiana University.
26

27

28
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1     85. Based on a faulty probable cause affidavit and false charging document an arrest warrant was
2
         issued and a retaliatory and discriminatory prosecution of the Plaintiff was initiated by the
3
         Defendants.
4
      86. On 6/13/2018 The Plaintiff turned himself in on the false indictment and plead not guilty to
5

6        the allegations.

7     87. The Plaintiff was arrested and prosecuted for intimidation without probable cause.
8
      88. The Plaintiff was targeted for arrest and prosecution through selective law enforcement in
9
         violation of the equal protection clauses of the 14th and 5th amendment specifically the
10
         Plaintiff alleges that but for his race, Indiana University Officials and law enforcement would
11

12       have not arrested and prosecuted the Plaintiff , which contain political hyperbole and

13       declarations about the status of his mental health as alleged “Threats”.
14
      89. The Plaintiff was targeted for arrest and prosecution through selective law enforcement in
15
         violation of the 1st amendment the Plaintiff alleges that but for his protected speech and
16
         activities , Indiana University Officials and law enforcement would have not arrested and
17

18       prosecuted him for his emails, which contain political hyperbole and declarations about the

19       status of his mental health as alleged “Threats”.
20
      90. The actions by the University show the extent to which the University will punish and silence
21
         the victims of police misconduct. The Plaintiff’s suspension, denial of his petition for
22
         reinstatement, and false arrest for trolling are all related to his 2016 allegations of an
23

24       unreasonable search and seizure by the IUPD.

25    91. The Plaintiff has enjoyed the support of sympathetic local groups throughout his malicious
26
         prosecution including the Bloomington Solidarity Network, The Bloomington Democratic
27

28
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1        Socialists of America, The Young Democratic Socialists of America, Btown Antifa, Black
2
         Lives Matter, and various local activists.
3
      92. The Plaintiff wrote about his story with systemic racism and oppression in an article titled
4
         “Who Will Survive in America?” published by the Bloomington Solidarity Project:
5

6
      CW: Racism, Gaslighting, Police Brutality
7
      The following is a testimonial by a former IU student who requested that BSN help share his
8     story. As the reader will learn, Daven Patton has been the recipient of extreme
      discrimination, intimidation, harassment, and gaslighting. His story helps to demonstrate the
9
      lived reality of oppressed people in Bloomington and the U.S. more broadly. Bloomington
10    and Indiana University are not immune to the racism and classism engrained in the very
      fabric of our society despite what local leaders and revisionist historians might lead us to
11    believe. These issues have always been here and the rapid development and speculation in
      the housing market has only led to an increased militarized police presence designed to
12    secure the gap between the wealthy and the poor and oppressed. Please read, share, and
      discuss Daven’s story so that we can begin to build a counter-narrative to the rosy picture of
13
      the idyllic liberal town that is sold to attract investors while the stories of people’s suffering
14    and resistance are lost or forgotten. Please also consider reaching out to BSN to find out
      how you can help support Daven
15
      March 3, 2016, my junior year of college at Indiana University, I left a box outside of
16    the Student Center building with a tongue-in-cheek note attached: “Call the bomb squad,
      because this shit is mind blowing,” along with a reference to the Kanye West song “Who
17
      Will Survive in America?” scribbled on the outside. My only hope was that someone would
18    curiously open it and be inspired in the same way I was. The box was filled with books. My
      intent was not a hoax, a replica, or a prank; it was simply a box of books. Little did I know
19    Student Center employees would soon report the box to authorities as a “suspicious
      package”, and later that night, guns drawn and in full tactical gear, my house would be
20    raided by IU Police. By the end of the day, I had been accused of inciting “terroristic
      mischief” because of a box of library books.
21

22    I remember clearly the night my room was stormed by IUPD. I had gone to a Lil Wayne
      concert at assembly hall wearing my brand new “Yeezy 2020” shirt; I had completely forgot
23    about the books. I had no idea that the IUPD had called in the IED disposal unit from the
      Indiana State Police department for the “suspicious package”; no one at the concert knew,
24    either. The school didn’t think the box was a threat and didn’t send out a safety alert. I left
      an old I.D in the box in case someone wanted to return the books to me. On the shuttle ride
25
      back home from Assembly Hall to Linden Hall no one was talking about a “suspicious
26    package” or “terroristic mischief” on campus; they were talking about how good the concert
      was. The Student Center is right across the street from my apartment, and there was no
27    way to tell that the I.E.D disposal unit was there that night. When I made it back to my
      apartment, I played Fallout 4 for a couple of hours and then took a shower to get ready to
28    go to bed. While I was still drying off I suddenly heard yelling in my apartment hallway. It
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1     was the IUPD. I walked out of my room naked with my hands up to see a squad of all white,
      aggressive officers pointing rifles at me and screaming. My roommates also had guns
2     pointed at them and were lead out into the hallway at gunpoint by the IUPD. Still naked, I
3     surrendered peacefully. The IUPD double-cuffed me and sat me in my kitchen. They
      wouldn’t even allow me to get dressed.
4
      Handcuffed and nude in my kitchen, I asked them why they were there. They said to search
5     my apartment. I then asked to see the search and arrest warrant. The officers hesitated at
      first, but then put a copy on the table and I quickly picked it up. Once I saw what was on the
6     search warrant I realized what was going on. I saw that they were looking for my “Yeezy
7
      2020” shirt (I found out later in the police report they described Kanye West, 21-time
      Grammy winning hip hop artist, as a stereotypical ”heavy set black man”), some more
8     clothes, and strangely a “weapon of mass destruction”. The officers also took a picture of
      my “Hands up Don’t Shoot” calendar I had got from a protest in Ferguson which they
9     described as “evidence”. I also had a newspaper taped to my window which I got from the
      same Ferguson protest that said “Who Killed Sandra Bland?* This GODDAM System! We
10    Need REVOLUTION—NOTHING LESS” which you could see from the street if you walked
11
      past my apartment.

12    The IUPD used the search warrant as an excuse to rummage through me and my
      roommate’s apartment. The IUPD took miscellaneous items from my room like tape, my
13    balaclava, some bucket hats, and a small, novelty pocket book I got from Urban Outfitters
      called Insults and Comebacks. I jokingly told them that if they search hard enough they
14    might also find some anthrax. The IUPD also confiscated some prescription
15
      Ibuprofen(Tylenol) from one of my roommates(because it was his girlfriend’s) and a small
      amount of marijuana from another roommate of mine. He wasn’t home at the time but the
16    IUPD cited him later. Most of the items the IUPD took were not on the search warrant.

17    One of the officers finally gave me some boxers to put on and one of my shirts and then
      took me away. An officer put me in one of the squad cars and then went to go talk to
18    another officer. While I was in the car over the police radio I heard a cop say “You get that
      n***er yet?”.
19

20    I was already afraid, but when I heard that I began to fear for my life.The arrest already
      seemed unusual, but now it was obvious it was motivated by racial animus. I know once the
21    police found out I was black from the I.D card I left in the box, they classified the box as a
      “bomb threat” so that they could arrest me. Unfortunately I wasn’t simply arrested, first the
22    cops took me on a joyride.
23
      First I was taken to the IUPD station, then to the hospital, then to jail. At the IUPD station
24    the officers tried to interrogate me without reading my rights or allowing me to have a lawyer
      present. As soon as they walked me into the interrogation room I saw a camera and made
25    sure that I clearly stated to the camera that my miranda rights weren’t read. The officers
      tried to coerce me into talking to them, but instead I started making fun of them. After a
26    while the cops stopped trying to interrogate me and called me a “danger to myself and
      others” as an excuse to take me to hospital. Before they took me to the hospital they took
27
      me outside in the early spring cold and stood me by the squad car in nothing but my boxers
28    while they wore their warm police jackets.
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1     When I was at the hospital they handcuffed me to the hospital bed. There were more
      officers at the hospital than were at my apartment when I was arrested. There I was given a
2     forced blood draw, and later that night they attempted to inject me with an unknown
3     sedative despite hospital staff saying I was being “intentionally difficult” to the officers. I
      refused and started yelling my objection to taking the shot. After they saw concerned people
4     starting to leave their hospital rooms to see what was going on they gave up on the shot.
      They then took me to Monroe County Jail where I has held all weekend.
5
      When I got out on March 6th I had found out that my face was all over the news saying that
6     I was accused of “terroristic mischief” and that the cops had lied about what the box really
7
      said. The cops lied to the media to assassinate my character and to cover up their illegal
      search and seizure of my apartment. I told the school that the IUPD violated my civil rights,
8     that I wanted video tapes from the incident, and asked the University questions like “Why
      wasn’t a campus safety alert sent out if the police claimed there to be a ‘bomb threat’?”, “If
9     the police ‘believed’ a weapon of mass destruction was on campus later in the night then
      why wasn’t Linden Hall evacuated? Why wasn’t the IED disposal unit from the Indiana State
10    Police on campus at the time when I was arrested if the police claimed there was a “weapon
11
      of mass destruction?”, and “why wasn’t anyone told about the alleged “weapon of mass
      destruction?”. The school responded by detaining me again and again taking me to the
12    hospital for a 72 hour psychiatric hold because the cops said I was a “threat to myself and
      others”, but in reality this was an attempt at gaslighting me. and the school used this as a
13    pretext to retaliate against me by summarily suspending me because of my allegations of
      police misconduct.
14

15
      I spent the next year fighting the malicious charges of “terroristic mischief” and another
      retaliatory charge of “intimidation” because I called the Monroe County Courthouse asking
16    for video tapes and accusing the IUPD of violating my 4th amendment rights. All of the
      charges were meritless and were eventually dropped. I also spent time recovering from the
17    trauma the IUPD caused me, studying political theory, economics, and philosophy, and in
      November of 2017 I decided to fight back against the school and file a Clery Act Complaint
18    with the Department of Education. The Clery Act is a federal statute enforced by the
19
      D.O.E’s Financial Student Aid Office that deals with sexual assault and campus security. I
      am alleging multiple violations of the Clery Act. One for not sending out a safety alert for
20    what the IUPD claimed was a “bomb threat,” and another for the IUPD lying about
      “Weapons of Mass Destruction” to obtain a search warrant and not following protocol. The
21    D.O.E followed up with me in January of 2018 to let me know my complaint was filed and I
      have been working with the D.O.E ever since. My complaint serves two purposes:
22

23
      1). Improve Campus Safety

24    2). Substantiate my allegations of Police Misconduct(Perjury)

25    In March of 2018 the school retaliated against me as a “whistleblower” under the Clery Act
      by denying my petition for reinstatement and used the PTSD the University Police caused
26    me as an excuse despite my evidence of police misconduct, me providing a letter from my
      therapist saying I have recovered from the trauma without them asking, and me improving
27
      campus safety by filing a Clery Complaint. I again felt like the University was trying to
28    gaslight me. Because the University used a discriminatory reason to deny my petition for
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1     readmission the D.O.E Office of Civil Rights opened an investigation into unlawful
      discrimination. Little did I know that the University police also started targeting me again
2     around this time because of my accusations of police misconduct and me filing complaints
3     against the school with the D.O.E.

4     Then in June of 2018 the University again retaliated against me for standing up for my civil
      rights by again falsely arresting me on bogus and meritless charges of “intimidation”. The
5     University used numerous emails I had sent them about the D.O.E, and various related
      topics in my reinstatement letter such as the war on terrorism, censorship, state violence,
6     police misconduct, anti-fascism, white supremacy, mental health, black power, and
7
      revolutionary socialism as a politically motivated excuse to arrest me for bringing them
      under investigation. In the e-mails that IU cited, I make it clear I was intentionally sending
8     them inflammatory, radical left wing topics and articles to mock their politically motivated
      crimes against me. The same e-mails that University officials call “threats” contradict them
9     and prove that there is no wrongdoing on my part.
10    As a result of these numerous e-mails the University used one e-mai in particular containing
      a song from Kanye West’s new album as the pretext to arrest me the second time. The
11
      song is the first song on Kanye’s new album “I Thought about Killing You”. The song title is
12    the title of the email and with an explicit link to the song in the title. The intent was to make
      fun of the IUPD for making up “threats”, which the University in turn ironically did. You did
13    not even need to open up the email to see that the title of the email is a song as gmail
      (University email accounts are powered by google) allows you to see the first part of the
14    email without opening it. The cover art on Kanye’s new album says “I hate being bipolar and
15
      its awesome” which I thought was a perfect coincidence, because I am a Kanye West fan,
      he is open about his “disability”, and the University is currently under investigation for
16    disability discrimination. The e-mails debunk the University’s motivations as further
      politically motivated harassment and intimidation and prove my innocence. The University is
17    trying to keep the “terroristic mischief” incident secret and censor me so I have decided to
      make the emails public. I will not back down to political suppression and repression by the
18    school and am well within my constitutional and federally protected rights. I am also a
19
      strong believer of openness and transparency. My arrest was retaliatory and I can prove
      there is direct causation between my D.O.E complaints, my allegations of police
20    misconduct, and my online activism.

21    You can find the link to the emails here:
22    https://drive.google.com/open?id=1ruXAD_jvD2Pi-ZcAuAdydtFqRVjcQxmS
23
      The IUPD tried labeling me a “terrorist” as an excuse to try stripping me of my civil rights
24    and the University’s actions have been unconstitutional starting with police officers
      committing perjury to accuse me of “terroristic mischief” and then violating my 1st
25    amendment rights for trolling them about the D.O.E investigation. Standing up for your civil
      rights is not a crime and I will not be silenced by the University. Civil rights activist Julian
26    Bond once said “an American can be black and an American can dissent, but no American
      had better compound these two crimes” and I unapologetically dissent to the American
27
      system built on inequality and systemic racism and am unapologetically black. If the
28    University did not want me to file a Clery Complaint against them then they shouldn’t have
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1     classified a box of books as “suspicious package” and as a “bomb threat”; they shouldn’t
      have lied about a “weapon of mass destruction” in Union Street, and if the University didn’t
2     want to be investigated for unlawful discrimination then the University shouldn’t have
3     violated my civil rights. Indiana University is a public college and has no right to attempt to
      censor criticism and radical viewpoints. IU is mandated by the federal government to obey
4     federal statutes and antidiscrimination laws like every other institution that accepts federal
      financial aid funding. The college on one hand pays lip service to “inclusion”, “tolerance”,
5     and “diversity” and on the other engages in extreme discrimination and retaliates against
      victims of police misconduct. The corruption of the University’s administration runs deep
6
      and the University’s “progressivism” is nothing more but white supremacy with a smile. IU’s
7     racism is institutional and systemic. From the covert racism of officials in the administration
      using discriminatory seemingly neutral policy, practices, and procedures that have a
8     disproportionate adverse effect on members of a protected classes to the overt racism of
      the overly militaristic state violence of the IUPD. I will not let the University and University
9     officials intimidate me and stop me from exercising my constitutional and federally protected
      rights and I cannot, as a man of good conscience, be afraid to speak up or back down from
10
      the oppression and malice displayed by the University and the IUPD.
11
      “If, in the present chaotic and shameful struggle for existence, when organized society
12    offers a premium on greed, cruelty, and deceit, men can be found who stand aloof and
      almost alone in their determination to work for good” - Lucy Parsons
13
      I am asking other people of moral and good conscience aid me and show solidarity with me
14    in not only my personal struggle but also the collective struggle against classism,racism,
15
      and all other forms of discrimination.”

16
                                                      Claim I
17

18
                                                  U.S Code 1983

19                                     1st Amendment Retaliatory Arrest

20    93. Plaintiff incorporates by references the facts alleged in paragraphs 13-92.
21
      94. In exhibits 1-44 the Plaintiff criticizes the University and IUPD, alleges violations of the
22
         Clery act, notifies the University of the Plaintiff’s whistleblower status under the Clery Act,
23

24
         alleges that the decision to arrest and prosecute the defendant was based on race, makes

25       allegations of police misconduct(perjury) ,alleges his suspension was out of retaliation, and

26       alleges that the denial of the Plaintiff’s petition for reinstatement was discriminatory and out
27

28
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1        of retaliation, talks about his discrimination complaint against Defendant Reesor, and
2
         engages in political speech.
3
      95. The Plaintiff in Exhibits 1-44 is engaging protected speech under 1st amendment.
4
      96. The Plaintiff petitioning the Federal Government for a redress of grievance in the form of
5

6        filing a Clery Act complaint and filing a discrimination complaint with the U.S Department

7        of Education is a protected activity under the 1st amendment.
8
      97. The 1st Amendment right to engage in protected speech and petition the government for a
9
         redress of grievance without fear of arrest is a clearly established by the constitution of the
10
         United States of which a reasonable person would have known.
11

12    98. The Plaintiff’s arrest for intimidation by Indiana University was motivated, but for the

13       Plaintiff’s protected speech.
14
      99. The statutes cited in the charging information are overbroad criminalizing both protected and
15
         unprotected speech.
16
      100.   Exhibits 1-44 are protected speech under the 1st Amendment and Federal Statutes and
17

18       intimidation is a speech crime. Indiana’s intimidation statute a applied to exhibits 3-46 is

19       unconstitutional and was used to punish the Plaintiff criminally for constitutional and
20
         federally protected speech.
21
      101.   The arrest of the Plaintiff caused an injury that would likely chill a person of reasonable
22
         firmness from continuing to engage in protected speech and activities.
23

24    102.   It is upon information and belief that Defendant Schuml acting within the scope of the

25       Defendant’s role of Detective acted maliciously or with reckless disregard for the Plaintiff’s
26
         1st Amendment Rights by having the Plaintiff arrested out of retaliation of engaging in
27
         protected speech and activities.
28
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1     103.   It is upon information and belief that Defendant Reesor acted maliciously or with
2
         reckless disregard for the Plaintiff’s 1st Amendment Rights by conspiring to have the
3
         Plaintiff arrested out of retaliation of engaging in protected speech and activities.
4
      104.   It is upon information and belief that Defendant Kehr acted maliciously or with reckless
5

6        disregard for the Plaintiff’s 1st Amendment Rights by conspiring to have the Plaintiff

7        arrested out of retaliation of engaging in protected speech and activities.
8
      105.   It is upon information and belief that Defendant Thompson acted maliciously or with
9
         reckless disregard for the Plaintiff’s 1st Amendment Rights by conspiring to have the
10
         Plaintiff arrested out of retaliation of engaging in protected speech and activities.
11

12    106.   It is upon information and belief that the Plaintiff was arrested as a part of a pattern of

13       retaliation by the University. In exhibits 1-44 the Plaintiff alleges that his suspension and
14
         denial of his petition for reinstatement were acts of retaliation by the University. The
15
         Plaintiff’s arrest for exhibits 1-44 is subsequently a part of an “Official Policy” of retaliation
16
         against the Plaintiff. The Plaintiff alleges no probable cause but even if probable cause is
17

18       found the Plaintiff’s arrest falls under the special class of retaliatory arrest cases that the U.S

19       Supreme Court ruled can proceed under [Lozman v. City of Rivera Beach]
20
      107.   It is upon information and belief that otherwise similarly situated individuals were not
21
         arrested. [Nieves. V Bartlett] [exhibit 45]
22
                                                      Claim II
23

24                                                U.S Code 1983

25                                  1st Amendment Retaliatory Prosecution
26
      108.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92.
27

28
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1     109.   In exhibits 1-44 the Plaintiff criticizes the University and IUPD, alleges violations of the
2
         Clery act, notifies the University of the Plaintiff’s whistleblower status under the Clery Act,
3
         alleges that the decision to arrest and prosecute the defendant was based on race, makes
4
         allegations of police misconduct(perjury) ,alleges his suspension was out of retaliation, and
5

6        alleges that the denial of the Plaintiff’s petition for reinstatement was discriminatory and out

7        of retaliation, talks about his discrimination complaint against Defendant Reesor, and
8
         engages in political speech.
9
      110.   The Plaintiff in Exhibits 1-44 is engaging protected speech under 1st amendment.
10
      111.   The Plaintiff petitioning the Federal Government for a redress of grievance in the form of
11

12       filing a Clery Act complaint and filing a discrimination complaint with the U.S Department

13       of Education is a protected activity under the 1st amendment.
14
      112.   The 1st Amendment right to engage in protected speech and petition the government for a
15
         redress of grievance without fear of a meritless prosecution is a clearly established by the
16
         constitution of the United States of which a reasonable person would have known.
17

18    113.   the Plaintiff’s prosecution for intimidation by Monroe County was motivated, at least in

19       part by the Plaintiff engaging in protected speech and activities.
20
      114.   The statutes cited in the charging information are overbroad criminalizing both protected
21
         and unprotected speech.
22
      115.   Exhibits 1-44 are protected speech under the 1st Amendment and Federal Statutes and
23

24       intimidation is a speech crime. Indiana’s intimidation statute a applied to exhibits 3-40 is

25       unconstitutional and was used to punish the Plaintiff criminally for constitutional and
26
         federally protected speech and complaints against the University.
27

28
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1     116.   The prosecution of the Plaintiff caused an injury that would likely chill a person of
2
         reasonable firmness from continuing to engage in protected speech and activities.
3
      117.   It is upon information and belief that Defendant Kehr acting within the scope of the
4
         Defendant’s role of Deputy Prosecutor acted maliciously or with reckless disregard for the
5

6        Plaintiff’s 1st Amendment Rights by conspiring to prosecute the Plaintiff on meritless

7        allegations out of retaliation of engaging in protected speech and activities.
8
      118.   It is upon information and belief that Defendant Schuml acting within the scope of the
9
         Defendant’s role of Officer acted maliciously or with reckless disregard for the Plaintiff’s 1st
10
         Amendment Rights by conspiring to prosecute on meritless allegations the Plaintiff out of
11

12       retaliation of engaging in protected speech and activities.

13    119.   It is upon information and belief that Defendant Reesor acting within the scope of the
14
         Defendant’s role of Vice provost acted maliciously or with reckless disregard for the
15
         Plaintiff’s 1st Amendment Rights by conspiring to prosecute on meritless allegations out of
16
         Plaintiff out of retaliation of engaging in protected speech and activities.
17

18    120.   It is upon information and belief that Defendant Thompson on acting within the scope of

19       the Defendant’s role of Officer acted maliciously or with reckless disregard for the Plaintiff’s
20
         1st Amendment Rights by conspiring to prosecute on meritless allegations out of retaliation
21
         of engaging in protected speech and activities.
22
      121.   It is upon information and belief that the Plaintiff was prosecuted as a part of a pattern of
23

24       retaliation by the University and that the Plaintiff’s prosecution is apart of an “Official

25       policy” of retaliation against the Plaintiff. In exhibits 1-44 the Plaintiff alleges that his
26
         suspension and denial of his petition for reinstatement were acts of retaliation by the
27
         University. Subsequently the Plaintiff’s prosecution for exhibits 1-44 is a part of an “Official
28
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1        Policy” of retaliation against the Plaintiff. The Plaintiff alleges no probable cause but even if
2
         probable cause is found the Plaintiff’s prosecution falls under the special class of retaliatory
3
         cases that the U.S Supreme Court ruled can proceed under [Lozman V City of Rivera Beech].
4
      122.   It is upon information and belief that otherwise similarly situated individuals were not
5

6        prosecuted [Nieves. V Bartlett] [exhibit 45]

7                                                    Claim III
8
                                                  U.S Code 1983
9
                                                 4th Amendment
10
                                                   False Arrest
11

12    123.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92.

13    124.   In this case, the information fails to state the charged offense with sufficient certainty,
14
         because the information and the probable cause affidavit contain contradictory information.
15
         The information alleges one count of intimidation “On or about October 26,2017 in Monroe
16
         County, State of Indiana, Daven Alexander Patton did communication a threat to commit a
17

18       forcible felony, to-wit: kill her, to Loraine M. Reesor, with the intent that Loraine M. Reesor

19       be placed in fear of retaliation for a prior lawful act, to-wit: refusing to re-admit the Patton
20
         into Indiana University.
21
      125.   The Probable cause Affidavit alleges communication between the Plaintiff and Defendant
22
         Reesor on March 12, 2018 [exhibit 6], March 26, 2018 [exhibit 10], May 25, 2018 [exhibit
23

24       37] and June 1, 2018 [exhibit 39]. The affidavit summarizes several months of email

25       correspondence between the Plaintiff and various collegiate officials, some affiliated with the
26
         University and some not. Allegedly their correspondence concerned his request for
27
         reinstatement at IU and the injustices that he has experienced due to racism and stigma
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1        against persons with mental illness. Specifically, the only alleged communications between
2
         the Plaintiff and Reesor are:
3
      126.   “On or about the 12th day of March 2018 Mr. Patton sent an email to the IU dean of
4
         students, Dr. Lori Reesor requesting his reinstatement as an IU student. Mr. Patton carbon
5

6        copied Ricardo Brown, James Moores, The Office of Civil Rights (OCR), The Dept. of

7        Education Clery complaints, himself, and Dr. Reesor , on the email”
8
      127.   “On or about the 26th day of March, 2018 Dr. Reesor responded to Mr. Patton that his
9
         reinstatement had been denied. Later that day Mr. Patton replied that Dr. Reesor’s decision
10
         was “discriminatory” and he claimed that he was forwarding the email to the and the Office
11

12       Financial Student Aid”’

13    128.   “On or about the 25th day of May, Mr. Patton sent an email to Aimee Oestreich and
14
         carbon copied Dr. Reesor. The email listed a subjected “I’m ready for this bullshit to be over
15
         with.’ In the email, Patton refers to Dr. Reesor as “The type of racist that will take pictures
16
         with black people to say they aren’t racists.’ This is a reference to a photo Dr. Reesor posted
17

18       on her Twitter page herself with a student who won an award. Patton later commented on the

19       denial of his reinstatement request stating, ‘She tried to screw me over but I predicted that.
20
         Fuck her too. She will regret that decision in the future.’ After receiving that email, Dr.
21
         Reesor said for the first time she felt targeted by Mr. Patton”
22
      129.   “On or about the 1st day June 2018, Mr. Patton sent an email to Dr. Reesor with the
23

24       subject “I thought about killing you.” Dr. Reesor said when she read that she became

25       concerned for her safety and her family’s safety. In the email, Mr. Patton states the subject
26
         line is the title of a Kanye West song and he provides a link to a Youtube video of the song”.
27

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1     130.   The overwhelming majority of the Plaintiff’s emails to Reesor were omitted from the
2
         Probable cause affidavit.
3
      131.   The probable cause affidavit, sworn by Plaintiff Schmuhl under the penalties of perjury to
4
         be true and accurate, contains no information about communication between Defendant
5

6        Reesor and the Plaintiff on October 16, 2017, and no information about communication

7        between any IU official and the Plaintiff in more than four months from October 27, 2017 to
8
         March 11, 2018. If the facts in the information are taken as true then the probable cause
9
         affidavit is missing facts about communication between the Plaintiff and Defendant Reesor in
10
         October 2017 or the sworn statements in the probable cause affidavit contain incorrect
11

12       information about whom Mr. Patton allegedly communicated with in October 2017 and the

13       contents of the communications. The facts alleged against the Plaintiff are unclear and leave
14
         a jury to guess essential facts of the offense namely: when the alleged intimidation happened,
15
         what communication the state is alleging constituted intimidation, and who was involved.
16
      132. The elements for intimidation do not exist in this case. Indiana’s intimidation statute
17
         states:
18
          “ (a) A person who communicates a threat to another person, with the intent:
19
      (1) that the other person engage in conduct against the other person's will;
20

21    (2) that the other person be placed in fear of retaliation for a prior lawful act;”

22    133.   The element for intent is missing and contradicted by all evidence. In exhibits 1-44
23
         Plaintiff makes his intentions clear as a radical left-wing troll mocking the IUPD’s politically
24
         motivated crimes against him. The language of the emails are political satire and hyperbole
25
         and is beyond debate not a “true threat”. The plaintiff in the emails ironically mocks the
26

27       IUPD for fabricating threats. To say the Plaintiff’s intentions were to “threaten” Defendant

28
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1        Reesor is contradictory to the evidence, knowingly false and unreasonable. Defendant Reesor
2
         and the IUPD are the “boys who cried wolf” and the Plaintiff’s intentions are clear.
3
      134.   The second element of for “A prior lawful act” is also missing. In exhibits 1-44 the
4
         Plaintiff alleges that the denial of his petition is unconstitutional and is a part of a pattern of
5

6        unlawful discrimination and retaliation. Defendant Reesor was also a subject of a

7        discrimination investigation by the U.S department of Education Office of Civil Rights for
8
         the refusal to readmit the Plaintiff at the time of his arrest. An unconstitutional act and act
9
         that violates anti-discrimination law is not a “prior lawful act”. All defendants known or
10
         should have known of the possibility that the refusal to readmit the Plaintiff was unlawful.
11

12    135.   Defendant Reesor clearly has retaliatory and discriminatory motivations and is an

13       impeachable witness. Defendant Reesor was under a discrimination investigation and in
14
         exhibits 1-44 the Plaintiff alleges that the refusal to readmit him was discriminatory and
15
         retaliatory.
16
      136.   Exhibits 1-44 are protected speech under the 1st Amendment and Federal Statutes and
17

18       intimidation is a speech crime. Indiana’s intimidation statute as applied to exhibits 1-44 is

19       unconstitutional and was used to punish the Plaintiff criminally for constitutional and
20
         federally protected speech.
21
      137.   For the above reasons, the charging information, together with the probable cause
22
         affidavit, and omitted information, evidence, facts, and the totality of circumstances is legally
23

24       insufficient to establish probable cause for the Plaintiff’s arrest of intimidation.

25    138.   The 4th Amendment right to be free from unreasonable arrests is a clearly established by
26
         the constitution of the United States of which a reasonable person would have known.
27

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1     139.   It is upon information and belief that Defendant Kehr acted maliciously or with reckless
2
         disregard for the Plaintiff’s 4th Amendment Rights by conspiring to arrest the Plaintiff
3
         without probable cause.
4
      140.   It is upon information and belief that Defendant Schuml acting within the scope of the
5

6        Defendant’s role of Officer acted maliciously or with reckless disregard for the Plaintiff’s 4th

7        Amendment Rights by conspiring to the Plaintiff without probable cause.
8
      141.   It is upon information and belief that Defendant Reesor acting within the scope of the
9
         Defendant’s role of Vice provost acted maliciously or with reckless disregard for the
10
         Plaintiff’s 4th Amendment Rights by conspiring to arrest the Plaintiff without probable cause.
11

12    142.   It is upon information and belief that Defendant Thompson on acting within the scope of

13       the Defendant’s role of Officer acted maliciously or with reckless disregard for the Plaintiff’s
14
         4th Amendment Rights by conspiring to arrest the Plaintiff without probable caus
15
                                              Claims IIII & IV
16
                                               U.S Code 1983
17

18                                   Perjury & Subordination of Perjury

19    143.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92.
20
      144.   Defendant Schuml signed under oath a faulty and misleading probable cause affidavit
21
         under penalty of perjury.
22
      145.   Defendant Schuml made false statements (the emails are threatening in nature and using
23

24       the statements in the emails out of context) and omitted information in her probable cause

25       affidavit (not including the vast majority of the emails in the probable cause affidavit.)
26
      146.   Defendant Schuml intentionally made false statements and omitted exculpatory evidence
27
         in probable cause affidavit.
28
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1     147.   The Defendant Schuml known or should have known that her statements in the probable
2
         cause affidavit are false and that she misquotes statements from the emails to mislead a
3
         magistrate.
4
      148.   The subject matter of the false statements and missing evidence was material to a finding
5

6        of probable cause for intimidation.

7     149.   Defendants Thompson and Kehr signed a charging document for felony intimidation
8
         under penalty of perjury.
9
      150.   Defendants Thompson and Kehr intentionally signed a charging document where the
10
         allegations are knowingly false to the Defendants at the time of its signing.
11

12    151.   Defendants Thompson and Kehr knew or should have known that the allegations in the

13       charging document are false and the criminal information contradicts all available evidence.
14
      152.   The false charging document and faulty probable cause affidavit were material in a
15
         magistrate finding probable cause for the crime of intimidation.
16
      153.   It is upon information and belief that unknown Indiana University Police Department and
17

18       The Monroe County’s Prosecutor’s office personnel made false statements and omitted

19       evidence under oath at an ex parte probable cause hearing. If the Plaintiff were present the
20
         false statements would have been rebutted and the missing evidence proffered.
21
      154.   It upon information and belief and Defendants Reesor, Schuml, Defendant Kehr, and
22
         Defendant Thompson entered into a conspiracy to subordinate perjury as a part of a plan to
23

24       engineer a false arrest and malicious prosecution out of retaliation.

25    155.   It is upon information and belief that Defendant Reesor and University Officials gave the
26
         Department of Education false information about the nature and contents of the emails to
27
         disrupt or influence a federal administrative proceeding.
28
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1                                                  Claim V
2
                                             U.S Code section 1983
3
                                             Abuse of legal process
4
      156.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92.
5

6     157.   The unmerited arrest and prosecution of the Plaintiff on the false allegations of felony

7        intimidation by the complaining witnesses of the charging document Defendants Reesor and
8
         Schuml and Defendant’s Kehr and Thompson who signed the false charging document under
9
         oath was initiated in bad faith in order to use the criminal justice system to retaliate against
10
         the Plaintiff for his allegations against the University, IUPD, and discrimination complaint
11

12       against Defendant Reesor. The allegations against the Plaintiff were knowingly false before

13       the prosecution was initiated and despite knowing that the allegations are false the defendants
14
         did nothing to withdraw the false indictment. The Plantiff’s arrest and prosecution for
15
         exhibits 3-46 are unmerited and it beyond debate that exhibits 1-45 are protected speech.
16
                                                   Claim VI
17

18                                         U.S Code Section 1983

19                              Conspiracy to injure using unlawful means
20
      158.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92.
21
      159.   The Defendants entered a unlawful conspiracy to injure the Plaintiff by conspiring to
22
         commit perjury in order to initiated an unmerited criminal proceeding.
23

24    160.   The goal of the Defendant’s actions were to cause irreparable harm and traumatize

25       Plaintiff.
26
      161.   The Plaintiff suffered economical and emotional damages because of the Plaintiff’s false
27
         arrest and malicious prosecution.
28
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1     162.   In exhibits 1-44 the Plaintiff talks about how his experience with the criminal justice
2
         system has negatively affected him economically and emotionally. He talks about how even
3
         though he was innocent of the crime of “terroristic mischief” he was treated as guilty because
4
         of the damage to his reputation and the barrier pending charges create when trying to find a
5

6        job. The Plaintiff also talks about how he has taken therapy for the Plaintiff’s 2016 false

7        arrest and provided a letter from a therapist. Defendant Reesor added a return condition to the
8
         University in the form of continued therapy for his false arrest but took actions that she
9
         knows would be harmful to the Plaintiff’s mental health by against having him falsely
10
         arrested and maliciously prosecuted for asserting his civil rights. The Defendants actions
11

12       were designed to “retraumatize” the Plaintiff and the only reason the Plaintiff would need

13       therapy despite his recovery from the Plaintiff’s 2016 false arrest would be because of the
14
         Defendants actions. The actions of the University amount to long term emotional abuse and
15
         the plaintiff has suffered extreme emotional distress and irreparable harm because of the
16
         University’s outrageous conduct.
17

18                                                  Claim VII

19                                          Civil Rights Act Title VI
20
      163.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92.
21
      164.   In exhibits 1-44 the Plaintiff criticizes the University and IUPD, alleges violations of the
22
         Clery act, notifies the University of the Plaintiff’s whistleblower status under the Clery Act,
23

24       alleges that the decision to arrest and prosecute the defendant was based on race, makes

25       allegations of police misconduct(perjury) ,alleges his suspension was out of retaliation, and
26
         alleges that the denial of the Plaintiff’s petition for reinstatement was discriminatory and out
27

28
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1        of retaliation, talks about his discrimination complaint against Defendant Reesor, and
2
         engages in political speech.
3
      165.   The Plaintiff is engaging in a federally protected activity by alleging and opposing racial
4
         discrimination by the University and IUPD.
5

6     166.   The Defendant Reesor took adverse action against the Plaintiff by having him falsely

7        arrested and maliciously prosecuted.
8
      167.   There is a casual connection between the Plaintiff opposing and alleging racially
9
         discriminatory practices by Indiana University and the IUPD and the adverse action of
10
         falsely arrest and maliciously prosecuted.
11

12                                               Claims IX & X

13            Title II Americans with Disabilities Act & Section 504 of the Rehabilitation act
14
      168.   Plaintiff incorporates by references the facts alleged in paragraphs 13-92
15
      169.   In exhibits 1-44 the Plaintiff criticizes the University and IUPD, alleges violations of the
16
         Clery act, notifies the University of the Plaintiff’s whistleblower status under the Clery Act,
17

18       alleges that the decision to arrest and prosecute the defendant was based on race, makes

19       allegations of police misconduct(perjury) ,alleges his suspension was out of retaliation, and
20
         alleges that the denial of the Plaintiff’s petition for reinstatement was discriminatory and out
21
         of retaliation, talks about his discrimination complaint against Defendant Reesor, and
22
         engages in political speech.
23

24    170.   The Plaintiff is engaging in a federally protected activity by alleging that he was

25       discriminated against by the University based on mental health and participating in a
26
         disability discrimination probe.
27

28
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1     171.   The University took adverse action against the Plaintiff by having the Plaintiff falsely
2
         arrested and maliciously prosecuted.
3
      172.   There is a casual connection between the Plaintiff opposing and alleging racially
4
         discriminatory practices by Indiana University and the IUPD and the adverse action of
5

6        refusing to readmit the plaintiff.

7

8
                                                       Relief
9
      173.   The plaintiff is entitled to relief under the constitution of the United States, Title VI of the
10
         Civil Rights act of 1964, Title II of the American’s with Disabilities Act and Section 504 of
11

12       the Rehabilitation Act.

13    174.   The plaintiff asks for relief in compensatory and punitive damages in the amount of
14
         $85,000,000 from Defendants Indiana University, The Indiana University Police Department,
15
         Monroe County Prosecutor’s Office, Defendant Reesor, Defendant Schuml, Defendant
16
         Thompson, Defendant Flynt, Defendant Kehr for the mental anguish, loss of education, loss
17

18       of earning capacity, humiliation, pain and suffering, damage to reputation and emotional

19       distress caused by the Plaintiff’s false arrest and malicious prosecution.
20
      175.   Relief in the form of an expungement of the Plaintiff’s student disciplinary and waiver
21
         for the Plaintiffs continued education at the University, a revision to the University’s
22
         summary suspension policy to include a direct threat policy in line with Title II of The
23

24       American’s with Disabilities Act and Section 504 of the Rehabilitation Act, racial bias

25       training for University Employees, a public apology from the University for the Plaintiff’s
26
         2016 false arrest, the denial of his petition, and 2018 false arrest; A donation in the name of
27
         the Indiana University Police Department to Black Lives Matter in the amount of $100,000
28
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1        and that this cause of action is the reason for the donation, A donation from each individual
2
         Defendant of $1,000 to Black Lives Matter and that this cause of donation is the reason for
3
         the donation, A donation in the name of Indiana University to University’s National Pan
4
         Hellenic Counsel in the amount of $100,000 and that this cause of action is the reason for the
5

6        donation, The creation of a scholarship fund aimed to serve victims of racism and

7        discrimination, the formation of a commission between minority student groups and
8
         University officials with the goal of enacting university policies to make the University more
9
         inclusive for students of color, increased efforts to attract students of color and retain them,
10
         an increase in the number of free CAP sessions for students per semester, A divestment of
11

12       racist institutions such as private prisons by the University, a renaming of the racist

13       monuments on campus such as Jordan Hall which is named after a eugenicist who supported
14
         forced sterilization of African Americans, That the Ku Klux Klan mural covered up in
15
         Woodburn Room 100 be replaced with a mural of Colin Kaepernick kneeling on the neck of
16
         a Klansmen with Martin Luther King Jr and Malcolm X smiling in the background, A ban of
17

18       far right and racist speakers on campus, the resignations of Defendant Reesor, Defendant

19       Schuml, Defendant Thompson, Defendant Flint, Defendant Kehr; criminal charges against
20
         the defendants responsible for filing the false police against the Plaintiff, disciplinary actions
21
         by the IUPD against the officers involved in the Plaintiff’s false arrest and malicious
22
         prosecution, that The Monroe County Prosecutor’s office put Officer Schuml and Officer
23

24       Thompson on the brady list for the Brady act violations of spoliation of evidence and perjury,

25       an investigation the University into the IUPD’s racially discriminatory practices as shown by
26
         exhibit 41, and other relief as deemed just by the court.
27

28
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6                                                                  Daven Alexander Patton

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